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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

         Plaintiff,

                 v.                                  CRIMINAL NO. 15-612 (PAD)

 RAFAEL GONZÁLEZ-FERRER [9],

         Defendant.


                                            ORDER

       The court has evaluated the Report and Recommendation made by U.S. Magistrate Judge

Bruce J. McGiverin regarding the Rule 11 proceeding of defendant, Rafael González-Ferrer

(Docket No. 162), to which no objections have been filed. The court finds the plea entered by the

defendant was knowingly, voluntary and intelligently entered with awareness of his rights and the

consequences of pleading guilty. The plea is therefore accepted and the defendant is adjudged

guilty as to Counts One and Ten of the indictment.

       The court notes that a Presentence Investigation Report was ordered (Docket No. 138).

The parties shall file their sentencing memoranda not later than September 27, 2016. The

Sentencing Hearing is set for October 7, 2016 at 10:00 a.m. in Courtroom 3.

       SO ORDERED.

       In San Juan, Puerto Rico, this 19th day of July, 2016.

                                                      S/Pedro A. Delgado-Hernández
                                                      PEDRO A. DELGADO HERNANDEZ
                                                      United States District Judge
